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11
                        IN THE UNITED STATES DISTRICT COURT
12
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
13

14                                    OAKLAND DIVISION

15   ______________________________________
                                               )
16   STATE OF CALIFORNIA, et al.,              ) Case No.: 4:17-cv-5783-HSG
                                               )
17                      Plaintiffs,            )
                                               ) JOINT STATUS REPORT
18                v.                           )
                                               )
19   XAVIER BECERRA, Secretary of              )
     Health and Human Services, et al.,        )
20                                             )
                        Defendants,            )
21                                             )
            and,                               )
22                                             )
     THE LITTLE SISTERS OF THE POOR,           )
23   ST. MARY’S HOME, et al.,                  )
                                               )
24                       Defendant-Intervenors )
                                               )
25
            On August 17, 2021, the Court stayed this case and ordered the parties to file status
26
     reports every three months. ECF No. 467. The parties report as follows:
27
            1. This case concerns the validity of two rules which create a moral exemption, and
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 1
            expand a religious exemption, to the rules establishing the contraceptive coverage
 2
            requirement. See Religious Exemptions and Accommodations for Coverage of
 3
            Certain Preventive Services Under the ACA, 83 Fed. Reg. 57,536 (Nov. 15,
 4
            2018); Moral Exemptions and Accommodations for Coverage of Certain
 5
            Preventive Services Under the ACA, 83 Fed. Reg. 57,592 (Nov. 15, 2018).
 6
       2. The Court has before it fully briefed dispositive motions, see ECF Nos. 311, 366,
 7
            368, 370, as well as supplemental briefs addressing the Supreme Court’s decision
 8
            in Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct.
 9
            2367 (2020), see ECF Nos. 433, 435, 437, 438, 440.
10
       3. On August 3, 2021, the parties filed a joint status report, in which Federal
11
            Defendants asked the Court to stay the case to permit the defendant agencies to
12
            evaluate the issues presented by this litigation, as well as their regulatory and
13
            policy options. ECF No. 462. The Court had once previously held the motions
14
            in abeyance. ECF No. 454. Plaintiffs and intervenor March for Life did not object
15
            to the request. Intervenor Little Sisters objected.
16
       4. On August 16, 2021, Federal Defendants announced that “[t]he Departments [of
17
            Health and Human Services, Treasury, and Labor] intend to initiate rulemaking
18
            within 6 months to amend the 2018 final regulations and obtaining public input
19
            will be included as part of the Departments’ rulemaking process.” CMS.Gov,
20
            Frequently Asked Questions, Affordable Care Act Implementation FAQs (Set 48)
21
            (Aug. 16, 2021) (available at https://www.cms.gov/CCIIO/Resources/Fact-
22
            Sheets-and-FAQs#Affordable_Care_Act).
23
       5. On August 17, 2021, the Court held a case management conference. The Court
24
            granted Federal Defendants’ request to stay the case and directed “counsel . . . to
25
            e-file a joint status report every three months.” ECF No. 467.
26
       6.   The Court held another status conference on May 17, 2022.
27
       7. The Federal Defendants report that they have made available for public inspection
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 1
          a notice of proposed rulemaking that would “amend regulations regarding
 2
          coverage of certain preventive services under the Patient Protection and
 3
          Affordable Care Act, which requires non-grandfathered group health plans and
 4
          non-grandfathered group or individual health insurance coverage to cover certain
 5
          contraceptive services without cost sharing.” U.S. Dep’t of Treasury, U.S. Dept’t
 6
          of Labor, & Dep’t of Health & Human Servs., Coverage of Certain Preventive
 7
          Services Under the Affordable Care Act (Jan. 30, 2023), https://public-
 8
          inspection.federalregister.gov/2023-01981.pdf (unpublished, public inspection
 9
          version). The proposed rule is scheduled to be published on February 2, 2023.
10
          The comment period for the proposed rule will be open for sixty days after the
11
          publication of the rule.
12
       8. Federal Defendants propose that the case remain stayed and that Federal
13
          Defendants continue to file status reports every three months to apprise the Court
14
          of the status of the rulemaking and their position on the need for a continued stay.
15
          The next status report will therefore be due on May 1, 2023.
16
       9. Plaintiff States do not oppose the proposal of the Federal Defendants.
17
       10. Intervenor March for Life does not oppose the proposal of the Federal Defendants.
18
       11. Intervenor Little Sisters of the Poor proposes that the case be re-opened now. The
19
          Notice of Proposed Rulemaking sets forth the federal government’s proposal to
20
          “maintain the religious exemption from the November 2018 Religious
21
          Exemption final rules.” Notice of Proposed Rulemaking, Coverage of Certain
22
          Preventive Services, at 36 (emphasis added). If the plaintiff States still believe
23
          such a religious exemption is illegal—which they have claimed to this Court since
24
          2017—then they should litigate that claim now. If the plaintiff States have had a
25
          change of heart and now agree with the federal government that a religious
26
          exemption is legal, and that governments can deliver contraceptives to women
27
          without the involvement of religious objectors, then the Court should just enter
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          judgment against them because they have conceded their case. The governments’
 2
          proposed third way—essentially an indefinite stay in this Court so that they can
 3
          keep the political issue alive into a second decade or a fourth presidential
 4
          administration—is an abuse of this Court.
 5
             The States’ failure to prosecute their case over the past several years stands in
 6
          sharp contrast to their initial representations to this Court that a religious
 7
          exemption was both (a) illegal and (b) so deeply and urgently harmful that this
 8
          Court needed to act on an emergency basis, twice, to make sure no such exemption
 9
          ever took effect, even for a minute. The intervening years of failure to prosecute,
10
          even while the supposedly dangerous religious exemption has been in effect,
11
          debunk those claims. Worse, original lead plaintiff Xavier Becerra—who once
12
          insisted that this Court needed to act urgently because religious exemptions were
13
          illegal and would stop governments from getting contraceptives to women—has
14
          now announced that a rule retaining the very same religious exemption in fact
15
          “works to ensure that the tens of millions of women across the country who have
16
          and will benefit from the ACA will be protected. It says to women across the
17
          country, we have your back.” U.S. Dep’t of Health and Human Servs., Biden-
18
          Harris Administration Proposes New Rules to Expand Access to Birth Control
19
          (Jan.   30,   2023), https://www.hhs.gov/about/news/2023/01/30/biden-harris-
20
          administration-proposes-new-rules-expand-access-birth-control-coverage-under-
21
          affordable-care-act.html (quoting Secretary Becerra).
22
             The religious exemption has been in effect for years, is in effect today, and
23
          the Notice of Proposed Rulemaking now proposes to keep it in effect. There is no
24
          further reason for delay. The Little Sisters respectfully request that this case be re-
25
          opened and litigated or conceded to swift and final resolution.
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 1   Dated: February 1, 2023                     Respectfully submitted,

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